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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

   0 Valuation of Security                0 Assumption of Executory Contract or Unexpired Lease          0 Lien Avoidance


                                                                                                       Last revised: August 1, 2020

                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY
In Re:                                                                               Case No.:

            John DaSilva                                                             Judge:
            Jessica DaSilva,
                              Debtors (s)

                                                    Chapter 13 Plan and Motions

         ☒ Original                             ☐     Modified/Notice Required                          Date:     02/24/2021
         ☐ Motions Included                     ☐     Modified/No Notice Required

                                             THE DEBTOR HAS FILED FOR RELIEF UNDER
                                              CHAPTER 13 OF THE BANKRUPTCY CODE

                                                    YOUR RIGHTS MAY BE AFFECTED
You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You
should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any
motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan.
Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may be
granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm
this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or
modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process. The plan confirmation
order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien
based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a
timely objection and appear at the confirmation hearing to prosecute same.

 The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
 includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
 ineffective if set out later in the plan.


THIS PLAN:

☐ DOES ☒ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

☐ DOES ☒ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH
MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN
PART 7, IF ANY.

☐ DOES ☒ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST.
SEE MOTIONS SET FORTH IN PART 7, IF ANY.

Initial Debtor(s)’ Attorney: ___SG_____          Initial Debtor: ___JD________       Initial Co-Debtor: ___JD__________




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Part 1:    Payment and Length of Plan

     a. The debtor shall pay $         630.00        per      Month        to the Chapter 13 Trustee, starting on
              3/1/2021           for approximately           60       months.

     b. The debtor shall make plan payments to the Trustee from the following sources:

            ☒     Future earnings

            ☐     Other sources of funding (describe source, amount and date when funds are available):




      c. Use of real property to satisfy plan obligations:

          ☐ Sale of real property
             Description:
             Proposed date for completion:

          ☐ Refinance of real property:
             Description:
             Proposed date for completion:

          ☐ Loan modification with respect to mortgage encumbering property:
             Description:
             Proposed date for completion:

      d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e. ☐ Other information that may be important relating to the payment and length of plan:




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Part 2:     Adequate Protection ☒ NONE

      a. Adequate protection payments will be made in the amount of $                              to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to                                                (creditor).
      b. Adequate protection payments will be made in the amount of $                              to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to:                                            (creditor).


Part 3:      Priority Claims (Including Administrative Expenses)

  a.       All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                     Type of Priority                          Amount to be Paid

CHAPTER 13 STANDING TRUSTEE                           ADMINISTRATIVE                    AS ALLOWED BY STATUTE

ATTORNEY FEE BALANCE                                  ADMINISTRATIVE                    BALANCE DUE: $ $3750.00

DOMESTIC SUPPORT OBLIGATION                                     DSO




  b.      Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
          Check one:
          ☐ None
          ☐ The allowed priority claims listed below are based on a domestic support obligation that has been assigned
          to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
          U.S.C.1322(a)(4):


Creditor                                      Type of Priority                         Claim Amount      Amount to be Paid

                                              Domestic Support Obligations
                                              assigned or owed to a
                                              governmental unit and paid less
                                              than full amount:




                                                                 3
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Part 4:     Secured Claims


      a. Curing Default and Maintaining Payments on Principal Residence: ☐ NONE
     The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:

Creditor             Collateral or Type    Arrearage             Interest Rate on      Amount to be          Regular Monthly
                     of Debt                                     Arrearage             Paid to Creditor      Payment
                                                                                       (In Plan)             (Outside Plan)

                                           $19,170.50                0%                   $19,170.50                 $2456.75
Quicken Loans        First Mortgage




b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: ☒ NONE
The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

 Creditor               Collateral or        Arrearage              Interest Rate on     Amount to be              Regular
                        Type of Debt                                Arrearage            Paid to Creditor          Monthly
                                                                                         (In Plan)                 Payment
                                                                                                                   (Outside
                                                                                                                   Plan)




c. Secured claims excluded from 11 U.S.C. 506: ☒ NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of
the petition date and secured by a purchase money security interest in any other thing of value:

    Name of Creditor                Collateral           Interest       Amount of         Total to be Paid through the Plan
                                                           Rate          Claim             Including Interest Calculation

                                                           0%             $ 0.00                          $ 0.00
                                                           0%             $ 0.00                          $ 0.00




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      d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments ☒ NONE
     1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                             NOTE: A modification under this Section ALSO REQUIRES
                           the appropriate motion to be filed under Section 7 of the Plan.

Creditor            Collateral   Scheduled        Total          Superior Liens      Value of         Annual     Total
                                 Debt             Collateral                         Creditor         Interest   Amount
                                                  Value                              Interest in      Rate       to be
                                                                                     Collateral                  Paid




     2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
 secured claim shall discharge the corresponding lien.




   e. Surrender ☒ NONE
       Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:

Creditor                                     Collateral to be Surrendered      Value of Surrendered     Remaining
                                                                               Collateral               Unsecured Debt




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  f. Secured Claims Unaffected by the Plan ☐ NONE
       The following secured claims are unaffected by the Plan:
           Americredit/GM Financial


           Lincoln Automotive Financial/Ford Motor Credit




g. Secured Claims to be Paid in Full Through the Plan: ☒ NONE


Creditor                                       Collateral                                  Total Amount to be
                                                                                           Paid Through the Plan




 Part 5:     Unsecured Claims ☐ NONE

     a. Not separately classified allowed non-priority unsecured claims shall be paid:

           ☒ Not less than $ 10956.00             to be distributed pro rata

           ☐ Not less than                      percent

           ☐ Pro Rata distribution from any remaining funds
     b. Separately classified unsecured claims shall be treated as follows:

Creditor                              Basis for Separate Classification        Treatment             Amount to be Paid




                                                              6
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Part 6:    Executory Contracts and Unexpired Leases ☒ NONE

       (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real
property leases in this Plan.)

        All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:

Creditor                Arrears to be Cured in Nature of Contract or         Treatment by Debtor      Post-Petition Payment
                        Plan                   Lease




 Part 7:    Motions ☒ NONE

NOTE: All plans containing motions must be served on all potentially affected lienholders, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A
Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed with the Clerk of
Court when the plan and transmittal notice are served.

       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). ☐ NONE
       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                 Nature of        Type of Lien   Amount of   Value of      Amount of       Sum of All    Amount of
                         Collateral                      Lien        Collateral    Claimed         Other Liens   Lien to be
                                                                                   Exemption       Against the   Avoided
                                                                                                   Property




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      b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. ☒ NONE

     The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor          Collateral   Scheduled      Total            Superior Liens      Value of              Total Amount of
                               Debt           Collateral                           Creditor’s            Lien to be
                                              Value                                Interest in           Reclassified
                                                                                   Collateral




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. ☒ NONE
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

Creditor          Collateral   Scheduled    Total              Amount to be                      Amount to be
                               Debt         Collateral         Deemed Secured                    Reclassified as Unsecured
                                            Value




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    Part 8: Other Plan Provisions

      a. Vesting of Property of the Estate
        ☐       Upon confirmation
        ☒       Upon discharge

      b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
 Debtor notwithstanding the automatic stay.
       c. Order of Distribution
       The Standing Trustee shall pay allowed claims in the following order:
         1) Ch. 13 Standing Trustee commissions
             2) Other administrative claims including attorney’s fees
             3) Secured claims and arrears
             4) Lease claims and arrears
             5) Priority claims and arrears
             6) G
                General unsecured claims

       d. Post-Petition Claims
      The Standing Trustee ☐ is, ☒ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.



   Part 9:      Modification ☐ NONE



         NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be
         served in accordance with D.N.J. LBR 3015-2.


         If this Plan modifies a Plan previously filed in this case, complete the information below.

         Date of Plan being Modified:                                         .

  Explain below why the plan is being modified:                     Explain below how the plan is being modified:




  Are Schedules I and J being filed simultaneously with this Modified Plan?        ☐ Yes    ☒ No




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  Part 10:     Non-Standard Provision(s): Signatures Required


        Non-Standard Provisions Requiring Separate Signatures:

        ☒ NONE

        ☐ Explain here:




        Any non-standard provisions placed elsewhere in this plan are ineffective.




Signatures


The Debtor(s) and the attorney for the Debtor(s), if any must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s)
certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan
and Motions, other than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true.




       Date:     02/24/2021                                        /s/John DaSilva
                                                                   John DaSilva
                                                                   Debtor


       Date:     02/24/2021                                        /s/Jessica DaSilva
                                                                   Jessica DaSilva
                                                                   Joint Debtor


       Date:     02/24/2021                                        /s/Scott J. Goldstein
                                                                   Scott J. Goldstein
                                                                   Attorney for the Debtor(s)




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